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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             PINE BLUFF DIVISION

CHARLES E. HAMNER, ADC #143063                                                     PLAINTIFF

v.                               NO. 5:17CV00079-JLH

DANNY BURLS, et al.                                                            DEFENDANTS

                                           ORDER

       Pending is Charles Hamner’s motion for leave to appeal in forma pauperis (IFP).

A party who is permitted to proceed IFP in district court may proceed on appeal IFP

without further authorization, unless the district court has certified that the appeal would

not be taken in good faith. FED. R. APP. P. 24(a)(3)(A).

       In this case, the Court granted Hamner’s request to proceed IFP on March 24,

2017. Document #3. Because the May 1, 2018 Judgment from which Hamner appeals

does not certify that an IFP appeal would not be taken in good faith (#43), his pending

motion for leave to appeal IFP is GRANTED. Document #45.

       A prisoner who is permitted to file an appeal IFP still must pay the statutory

appellate filing fee. Method and timing of payment are the only issues to be resolved.

Henderson v. Norris, 129 F.3d 481, 483 (8th Cir. 1997); FED. RULE APP. P. 3(e).

       Based on information in a certified copy of Hamner’s inmate trust fund account,

the Court assesses an initial partial filing fee of $4.69. Hamner’s custodians are obligated

to collect the initial partial filing fee, as well as the balance of the $505.00 appellate filing

fee by deducting 20% of the preceding month’s income credited to Hamner’s prison trust

account each time the amount in the account exceeds $10.00 until the filing fee is paid in
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full. 28 U.S.C. ' 1915(b)(2). The payments forwarded on Hamner’s behalf must be

clearly identified by name and case number.

      The Clerk of Court is directed to send a copy of this Order to the Arkansas

Department of Correction Trust Fund Centralized Banking Office, P.O. Box 8908, Pine

Bluff, Arkansas 71611, the Arkansas Department of Correction Compliance Division,

P.O. Box 20550, Pine Bluff, Arkansas 71612, and the Warden of Varner Supermax Unit,

P.O. Box 400, Grady, Arkansas 71644.

      IT IS SO ORDERED this 29th day of May, 2018.



                                        ________________________________
                                        UNITED STATES DISTRICT JUDGE




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